                                                                                                                        Case 1:21-cv-00015 Document 41-1 Filed 04/14/22 Page 1 of 2




                                                                                                                1   JOE HILL
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                                                                                                                    and Md. Rokonnurzzaman
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                                                                                                                6
                                                                                                                                          IN THE UNITED STATES DISTRICT COURT
                                                                                                                7                          FOR THE NORTHERN MARIANA ISLANDS

                                                                                                                8
                                                                                                                     ABU YOUSUF and                          MD.            Civil Case No. 1:21-cv-00015
                                                                                                                     ROKONNURZZAMAN,
                                                                                                                9
                                                                                                                                               Plaintiffs,
                                                                                                               10
                                                                                                                                                                        DECLARATION OF JOE HILL
                                                                                                                                         vs.                            IN SUPPORT OF PLAINTIFFS’
                                               Hill Law Offices ~ Susupe




                                                                                                               11
                                                                                                                                                                      MOTION FOR ENTRY OF DEFAULT
                                                     Attorney at Law
JOE HILL




                                                                                                                     LONGFENG CORPORATION
                                                                                                               12
                                                                                                                     dba/aka NEW XO MARKET and
                                                                                                                     PARTYPOKER, GUOWU LI, XU
                                                                                                               13
                                                                                                                     GUI QING, FELOTEO V. RANADA
                                                                                                                     dba N.V.M. ENTERPRISES, jointly
                                                                                                               14
                                                                                                                     and severally,
                                                                                                               15
                                                                                                                                               Defendants.
                                                                                                               16

                                                                                                               17          I, JOE HILL, hereby depose and say:
                                                                                                               18          1.         I am over the age of eighteen (18) years old, an adult person with personal
                                                                                                               19   knowledge of the matters set forth herein and am competent to testify as to such matters in
                                                                                                               20   a court of law.
                                                                                                               21          2.         I am the attorney for the Plaintiffs in the above-entitled matter.
                                                                                                               22

                                                                                                               23
                                                                                                                        Case 1:21-cv-00015 Document 41-1 Filed 04/14/22 Page 2 of 2




                                                                                                                1          3.      Pursuant to the Court’s Order (Civil Minutes) dated February 10, 2022,

                                                                                                                2   Plaintiffs, through counsel, filed and served their Second Amended Complaint for Violation

                                                                                                                3   of the Fair Labor Standards Act (SAC).

                                                                                                                4         4.       Defendants, including Defendant Feloteo V. Ranada, were served with the

                                                                                                                5   SAC, as reflected on the Notice of Electronic Filing (copy attached).
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                                                                                                                6         5.       Pursuant to Fed. R. Civ. P. 15 (a)(3), if the pleading amended is one to which

                                                                                                                7   a responsive pleading is appropriate, the opposing party will have either the time remaining

                                                                                                                8   before a response to the unamended pleading was due, or fourteen days — whichever is

                                                                                                                9   longer — in which to respond. Id.

                                                                                                               10         6.       Accordingly, Defendant Feloteo V. Ranada had until March 10, 2022 to file
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                                                                                                               11   his response to the SAC.
                                                     Attorney at Law
JOE HILL




                                                                                                               12         7.       The fourteen (14) day period for answering the SAC has already expired.

                                                                                                               13         8.       Defendant Feloteo V. Ranada has failed to plead or otherwise defend within

                                                                                                               14   the time required and, therefore, is now in default.

                                                                                                               15         9.       Plaintiffs request and move that the Court enter default against Defendant

                                                                                                               16   Feloteo V. Ranada.

                                                                                                               17          I declare under penalty of perjury that the foregoing is true and correct and that this

                                                                                                               18   declaration was executed on this 14th day April, 2022 in Saipan, Commonwealth of the

                                                                                                               19   Northern Mariana Islands.

                                                                                                               20                                                          _______/s/_________
                                                                                                                                                                               JOE HILL
                                                                                                               21                                                              Declarant

                                                                                                               22

                                                                                                               23

                                                                                                                                                                -2-
